[Cite as State v. U.T., 2024-Ohio-3197.]
                               COURT OF APPEALS OF OHIO

                              EIGHTH APPELLATE DISTRICT
                                 COUNTY OF CUYAHOGA

STATE OF OHIO,                                   :

                 Plaintiff-Appellant,            :   Nos. 113612, 113613, and 113614

                 v.                              :

U.T.,                                            :

                 Defendant-Appellee.             :


                                JOURNAL ENTRY AND OPINION

                 JUDGMENT: REVERSED AND REMANDED
                 RELEASED AND JOURNALIZED: August 22, 2024


            Civil Appeal from the Cuyahoga County Common Pleas Court
         Case Nos. CR-95-322754-B, CR-95-325697-ZA, and CR-95-331005-B


                                           Appearances:

                 Michael C. O’Malley, Cuyahoga County Prosecuting
                 Attorney, and Anthony T. Miranda, Assistant Prosecuting
                 Attorney, for appellant.

                 Cullen Sweeney, Cuyahoga County Public Defender, and
                 Michael V. Wilhelm, Assistant Public Defender, for
                 appellee.


MICHELLE J. SHEEHAN, J.:

                   Plaintiff-appellant, State of Ohio, appeals the trial court’s judgment

granting defendant-appellee U.T.’s application to seal the records of his three drug
trafficking convictions. The State raises one assignment of error for our review:

“The trial court erred in expunging U.T.’s convictions, which were three felonies of

the third degree.” We find merit to the State’s argument and reverse the trial court’s

judgment.

I. Procedural History

               In January 1996, U.T. pleaded guilty to three drug trafficking charges

in violation of R.C. 2925.03, all third-degree felonies, in three separate cases.

Twenty-seven years later, in June 2023, U.T. filed an application for expungement

of those three convictions pursuant to R.C. 2953.32(B).

               The trial court held a hearing on U.T.’s application in November 2023

and subsequently granted U.T.’s application. It is from this judgment from which

the State now appeals.

II. Law and Analysis

               In its sole assignment of error, the State argues that the trial court

erred when it granted U.T.’s application to expunge his three felony drug trafficking

convictions because the applicable statute prohibits the trial court from doing so.

Specifically, the State contends that the version of R.C. 2953.32(A) that was in effect

when U.T. filed his application does not permit expungement or sealing criminal

records when an applicant has “more than two felonies of the third degree.” See

former R.C. 2953.32(A)(5) (effective April 6, 2023, to October 2,2023).
               We review a trial court’s decision to seal or expunge a record of

conviction under an abuse-of-discretion standard. State v. J.W.G., 2024-Ohio-

2071, ¶ 6, citing Bedford v. Bradberry, 2014-Ohio-2058, ¶ 5 (8th Dist.). But

whether an applicant is eligible for sealing or expungement is a question of law that

we review de novo. State v. V.S., 2017-Ohio-1565, ¶ 6 (8th Dist.), citing Bradberry.

               The statutory law in effect at the time of the filing of an R.C. 2953.32

application to expunge or seal a record of conviction is controlling. State v. T.S.,

2017-Ohio-7395, ¶ 8 (8th Dist.). U.T. filed his application in June 2023; therefore,

the version of the statute in effect from April 6, 2023, to October 2, 2023, controls.

               The April 2023 version of R.C. 2953.32(A)(5) provides, in pertinent

part, that expunging or sealing records of conviction do not apply to “[c]onvictions

of a felony of the first or second degree or of more than two felonies of the third

degree.”

               U.T. argues that R.C. 2953.32(A)(5) prevents the expungement or

sealing of more than two third-degree felony convictions “ONLY within a single

case.” (Emphasis in original.) He therefore maintains that because his three third-

degree felony convictions were in separate cases, R.C. 2953.32(A)(5) does not apply.

               This court recently answered the exact question presented in this case

regarding the April 2023 version of R.C. 2953.32(A)(5).            In State v. K.O.,

2024-Ohio-2582 (8th Dist.), the applicant sought to have the records sealed of her

three third-degree felony drug trafficking convictions, which occurred in three
separate cases. The applicant argued that under the April 2023 version of R.C.

2953.32(A)(5), “she [was] eligible to have her convictions sealed because ‘at no time

were they charged and convicted together’ in the same case. In other words, K.O.

argue[d] that the statute ‘allows for expungement of single F3s across different

cases.’” Id. at ¶ 8.

                We disagreed with K.O.’s interpretation of R.C. 2953.32(A)(5). We

explained that the April 2023 version of R.C. 2953.32(A)(5) “does not contemplate

a scenario in which an applicant may file for sealing a record for three third-degree

felonies.” Id. at ¶ 9. We stated that “[t]he April 2023 version of R.C. 2953.32(A)(5)

provides that R.C. 2953.32, which governs sealing a record of conviction, does not

apply to ‘[c]onvictions of . . . more than two felonies of the third degree[.]’” Id. at ¶

12. We further concluded, “Upon review, we find that the statutory language at issue

is plain and unambiguous. K.O. would have us read into the statute the words ‘per

case’ to have her three third-degree felony convictions be eligible for sealing, because

she has one third-degree felony conviction per case. Those additional words are

simply not in the statute.” Id.

                Like K.O., U.T. has three third-degree felony drug trafficking

convictions. It is irrelevant whether those convictions originated from the same case

or three separate cases. The statute is clear — an applicant is not entitled to

expunging or sealing records of conviction if he or she has “more than two felonies

of the third degree.”
              The State’s sole assignment of error is sustained.

              Judgment reversed, and case remanded.

      It is ordered that appellant recover of appellee costs herein taxed.

      The court finds there were reasonable grounds for this appeal.

      It is ordered that a special mandate issue out of this court directing the

common pleas court to carry this judgment into execution.

      A certified copy of this entry shall constitute the mandate pursuant to Rule 27

of the Rules of Appellate Procedure.



___________________________
MICHELLE J. SHEEHAN, JUDGE

EILEEN A. GALLAGHER, P.J., and
MARY J. BOYLE, J., CONCUR
